                           Case 14-50333-gs        Doc 120    Entered 07/16/14 16:34:57      Page 1 of 3


                      1   ALAN R. SMITH, ESQ. #1449
                          HOLLY E. ESTES, ESQ. #11797
                      2   Law Offices of Alan R. Smith
                          505 Ridge Street                                           ELECTRONICALLY FILED
                      3   Reno, Nevada 89501                                              July 16, 2014
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                      5   Attorney for Debtors
                          ANTHONY THOMAS and WENDI
                      6   THOMAS and AT EMERALD, LLC
                      7

                      8

                      9                          UNITED STATES BANKRUPTCY COURT
                 10                                          DISTRICT OF NEVADA
                 11                                                —ooOoo—
                 12       In Re:                                          Case No. BK-N-14-50333-BTB
                                                                          Case No. BK-N-14-50331-BTB
                 13       ANTHONY THOMAS and                              Chapter 11 Cases
                          WENDI THOMAS,
                 14                                                       [Jointly Administered]
                 15       AT EMERALD, LLC,                                STIPULATION TO CONTINUE
                                                                          HEARINGS ON US TRUSTEE’S
                 16                     Debtors.                          MOTION TO DESIGNATE CASE AS
                                                                          SMALL BUSINESS CASE
                 17
                                                                          Old Hearing Date: July 30, 2014
                 18                                                       Old Hearing Time: 10:00 a.m.
                 19                                                       New Hearing Date: September 10, 2014
                                                                          New Hearing Time: 2:00 p.m.
                 20       ______________________________/
                 21                IT IS HEREBY STIPULATED AND AGREED by and between Debtor, AT EMERALD,

                 22       LLC, a Nevada limited liability company, by and through its undersigned counsel, Holly E.
                 23       Estes, Esq., of the Law Offices of Alan R. Smith, and the United States Trustee, by and through
                 24       her counsel William B. Cossitt, Esq., that the hearing on the US Trustee’s Motion To Designate

                 25       Case As Small Business Case [DE 25] currently scheduled for July 30, 2014, at 10:00 a.m., shall

                 26       be continued until September 10, 2014, at 2:00 p.m.

                 27       ///

                 28       ///

Alan R. Smith, Esq.
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Reno, Nevada 89501
 (775) 786-4579
                          Case 14-50333-gs    Doc 120     Entered 07/16/14 16:34:57       Page 2 of 3


                      1        DATED this 16th day of July, 2014.

                      2                                             LAW OFFICES OF ALAN R. SMITH

                      3                                                   /s/ Holly E. Estes

                      4                                             By_______________________________________
                                                                      HOLLY E. ESTES, ESQ.
                      5                                               Attorney for Debtors

                      6        DATED this 16th day of July, 2014.

                      7                                             OFFICE OF THE UNITED STATES TRUSTEE

                      8
                                                                           See attached signature page
                      9                                             By_______________________________________
                                                                      WILLIAM B. COSSITT, ESQ.
                 10                                                   Attorney for Tracy Hope Davis

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                          Case 14-50333-gs    Doc 120    Entered 07/16/14 16:34:57        Page 3 of 3


                      1        DATED this 16th day of July, 2014.

                      2                                             LAW OFFICES OF ALAN R. SMITH

                      3                                                   /s/ Holly E. Estes

                      4                                             By_______________________________________
                                                                      HOLLY E. ESTES, ESQ.
                      5                                               Attorney for Debtors

                      6        DATED this ___ day of July, 2014.

                      7                                             OFFICE OF THE UNITED STATES TRUSTEE

                      8

                      9                                             By_______________________________________
                                                                      WILLIAM B. COSSITT, ESQ.
                 10                                                   Attorney for Tracy Hope Davis

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